UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI |

EASTERN DIVISION !
SOUTHERN eer OF Misbissipp1

Latasha Hill,

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|
Case No.: 2:24-cv-00107-KS-BWR
Date: July 15, 2025 |

PLAINTIFF'S MOTION TO COMPEL PRODUCTION OF CLAIMS MANUAL AND
SUPPLEMENTAL RESPONSES TO DISCOVERY REQUESTS |

Plaintiff, Latasha Hill, proceeding propria persona, pursuant to Federal Rules of Civil Procedure

26, 34,and 37, and Local Uniform Civil Rule 37(a) of the United States District Court for the _

Southern District of Mississippi, respectfully moves this Court to compel Defendant Auto Club

AUTO CLUB FAMILY INSURANCE COMPANY,
Defendant.

Family Insurance Company ("Defendant") to produce the Claims Manual and related claims |

handling documents responsive to Plaintiff's Requests for Production.

1. Plaintiff served discovery requests, including requests for the Defendant's Claims Manual and

related documents directly relevant to Plaintiff's claims of bad faith, breach of contract, and |

In support, Plaintiff states as follows:

unfair |

. . |
claims practices.

2. Defendant has failed to produce the Claims Manual and related claims handling documents,
|
Injustice Anywhere is A Threat To Justice Everywhere Page 1 of 3
claiming untimeliness without addressing its ongoing duty under Rule 26(e) to supplement |

responses.

3. Federal Rule of Civil Procedure 26(e)(1) imposes a continuing duty to supplement incomplete
responses, regardless of the discovery deadline.

4. The Claims Manual and related documents are highly relevant under Rule 26(b){1) and |

routinely ordered for production in insurance cases involving allegations of bad faith.

5. Plaintiff has made good-faith efforts to resolve this dispute, including offering to meet and |

confer via a recorded teleconference, as required by Rule 37(a)(1) and L.U.Civ.R. 37(a). |

WHEREFORE, Plaintiff respectfully requests that the Court: |

A. Compel Defendant to produce the Claims Manual and related claims handling materials |

within three days;

B. Compel Defendant to provide a privilege log under Rule 26(b)(5)(A) for any withheld

documents;

C. Award Plaintiff reasonable costs associated with this motion under Rule 37(a)(5);
|
D. Grant any other relief deemed just and proper. |

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Respectfully submitted this 15" day of July, 2025. |

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Injustice Anywhere is A Threat To Justice Everywhere Page 2 of 3
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Latasha Hill
Propria Persona
Sui Juris

Without Prejudice
UCC 1-308

Notary Witness and Acknowledgement

United States of America }
State of Mississippi } $.a.
County of Vee 2 st }

Today before me, a Commissioned Notary, is the living, flesh and blood, and natural woman
known to be Latasha Hill and she did issue this Formal Motion To Compel and she also affirmed
her testimony as shown before me this _| > day of Douvu in the year 2025, in
Witness whereof I set my Signature and Seal:

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Public Notary'Printed Name Public Notary/Signature

Sulu t§ 2025 uy 24 2625
Date | . Commission Expire

wk . Latasha Hill
OR seer! oO 8 Annie Christie Drive
“ZEST Gee" Hattiesburg, MS 39401
latashahill30047@yahoo.com
601-202-3262

Case: 2:24-cv-00107-KS-BWR

Injustice Anywhere is A Threat To Justice Everywhere Page 3 of 3
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

EASTERN DIVISION
Latasha Hill,
Plaintiff,
Vv.
AUTO CLUB FAMILY INSURANCE COMPANY,
Defendant.

Case No.: 2:24-cv-00107-KS-BWR
Date: July 15, 2025

CERTIFICATE OF SERVICE

Motion For Sanctions Pursuant To FRCP 26, 34, 37 and L.U.Civ.R.37(a) For Defendant’s
Bad Faith Discovery Violations
This letter serves as formal notice of Plaintiff's Motion To Compel against you and your client
for violations. I, Latasha Hill, certify that on July 15, 2025, I will serve this Motion To Compel,
on Priscilla K. Williams via email pkwilliams@csattorneys.com and pkw@csattorneys.com.

Method of service: [X] Email

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By:__/s/ Latasha Hill
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Civil Action No. 2:24-cv-107-KS-BWR
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